iN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM’

.yWAbthorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982

< (Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
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SECTION: J JUDGE CARL BARBIER

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, ef
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et ai., in No. 10-2771; and/or intervene Into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 {10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MBL No. 2179 (10 md 2179).

Last Name First Name Middle Name/Maiden Suffix
Freeman Jerry W
Phone Number : E-Mall Addrass
251-599-8973 jenrywireeman@comcast.net
Address City / State / Zip
839 Deer Run Drive Saraland, AL 36571
INDIVIDUAL CLAIM oD BUSINESS CLAIM iv
“Employer Name Business Name
nv i ee ) Cabinetry Sales & Design
Job Title / Description Type of Business
- Cabinet Maker
Address Address
_ 839 Deer Run Drive
City / State / Zip City / State / Zip
Saraland, AL 36571 _.
Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
8945
Ce eT ee ee
Attomey Name Firm Nama
Mitchell A. Toups & Richard Coffman Alttomeys at Law
Address City / State / Zip
P.O. Box 350 - Beaumont, TX 77704
Phone Number E-Mail Addrass
409-838-0101 or 409-833-7700 matoups@wogttlaw.com: rc@cofflaw.com
Claim filed with BP? YES oO NO Claim Filed with GCCF?: YES Noo
If yas, BP Claim No.: If yes, Claimant Identification No.: In Process

Clalm Type (Please check all that apply):

| Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Earnings/Profit Loss Loss of Subsistence use of Natural Resources
L_ Personal Injury/Deaih Removal and/or ciean-up costs

Other:

1 This form should be filed with the U.S. Oistrict Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-3888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Dec. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179}, the filing of this form in C.A. No. 10-5888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179, Plaintiff Lialson Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shall aiso serve In lieu of the requirement of a Piaintiif to file a Plaintiff Profile Form.

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Brief Description:

1. For eamings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property {residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

As a direct and/or proximate result of the Deepwater Horizon oil spill, there was a significant

downturn in the construction industry that, in turn, resulted in a substantial decrease in

earnings.and profits

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

Not Applicable

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

Not Applicable

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The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff ta file a Plaintiff Profile Form.

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Please check the box(es} below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1

CJ 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or cystering.

O2. Seafood processor, distributor, retall and seafood market, or restaurant owner and operator, or an employee thereof.

(1 3. ‘Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Gulf of Mexico,

oO 4, Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real astate agents, and supply companies, or an employee thereof.

[1 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational beater.
(J 6. = Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator,

Ol7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

[CD 8. — Hotel owner and operator, vacation rental owner and agent, or all those who eam their living from the tourism industry.
[J 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.

oO 10. Person who utilizes natural resources for subsistence,
414. Other Cabinet Maker

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

oO 1. Boat captain or crew involved in the Vessels of Opportunity program.

oO 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

C 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

[J 4. = Clean-up worker or beach persannel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
CJ 5. _ Resident who lives or works in close proximity to coastal waters.

D6. — Other.

Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being tre as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and-subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this fefm and PSC through Plaintiff Liaison Counsel.

“Claimant or Attorney Signature * ( A>
eNCLe ee KY Cyr No IO >
Print Name

fLiS f1\

Date

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The filing of this Direct Filing Short Form shail also serve in tieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

